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                   EXHIBIT J
                Case 4:23-cv-00609-BJ Document 1-10 Filed 06/15/23                                                                  Page 2 of 2 PageID 313




UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS

 A. NAME & PHONE OF CONTACT AT FILER (optional)
  LESLIE HOFER (314)480-1500
                                                                                                                                               Delaware Department of State
 B. E-MAIL CONTACT AT FILER (optional)
                                                                                                                                                    U.C.C. Filing Section
     LESLIE,HOFER@HUSCl!BLACKWELL,COM
                                                                                                                                                 Filed: 05:39 PM 08/06/2021
 C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                              U.C.C. Initial Filing No: 2021 6223987
   f'iuscH BLAC!ClfELL LLP
     190 CARONDELET PLAZA
                                                                                                    7                                         Service Request No: 20212916034

     SUITE 600

   L       LOUIS, MO 63105
                                                                                                    _J
                                                                                                                       THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME: Provide only Qllil. Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
   name will not fit in line 1b, leave all of item 1 blank, check here    O and provide the Individual Debtor inf ormation in item 10 of !he Financing Statement Addendum (Form UCC1Ad)
     1a. ORGANIZATION'S NAME
     BRIDGELINK ENGINEERING LLC
OR
     1b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                              ADDITIONAL NAME(S)/INIT!AL(S)             SUFFIX



1c. MAIUNG ADDRESS                                                                          CITY                                            STATE     IPOSTAL CODE                    COUNTRY
777 MAIN STREET, SUITE 2800                                                                 FORT WORTH                                       TX         76102                          us

2. DEBTOR'S NAME: Provide only Qll!l. Debtor name (2a or 2b) (use exact, full name: do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
   name will not f it in line 2b. leave all of item 2 blank. check here   O and provide the Individual Debtor information in item 10 of the Financing Statement Mdendum (Form UCC1Ad)
     2a. ORGANIZATION'S NAME


OR
     2b. INDIVIDUAL'S SURNAME                                                               FIRST PERSONAL NAME                             ADDITIONAL NAME(S)/INIT!AL(S)             SUFFIX


2c. MAILING ADDRESS                                                                         CITY                                            STATE     IPOSTAL CODE                    COUNTRY



3 SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) Provide only one Secured Party name (3a or 3b)
     3a. ORGANIZATION'S NAME
     BANCORPSOUTH BANK
OR
     3b. INDIVIDUAL' S SURNAME                                                              FIRST PERSONAL NAME                             ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX



3c. MAILING ADDRESS                                                                         CITY                                            STATE     IPOSTAL CODE                    COUNTRY
 2800 NORTH LOOP WEST, SUITE 1000                                                           HOUSTON                                          TX         77092                          us

4. COLLATERAL: This financing statement covers the following collateral:
 All assets of Debtor, wherever located, and whether now owned or hereafter acquired or arising.




5. Check Q.Ojy If applicable and check filllY. one box: Collateral is   O held in a Trust (see UCC1Ad, item 17 and Instructions) 0 being administered by a Decedent's Personal Representative
6a. Check filllY. if applicable and check QD.[y_ one box:                                                                            6b. Check Q!lli if applicable and check QD.[y_ one box:
     D Public-Finance Transaction             D Manufactured-Home Transaction            0 A Debtor is a Transmitting Utility   0 Agricultural Lien O Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable)'            0 Lessee/Lessor               0 Consignee/Consignor       0 Seller/Buyer   0 Bailee/Bailor     0 Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
 546046-14 (DE SOS)
                                                                                                                      International Association of Olmmercial lldministratoi
FILING OFFICE COPY- UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)
